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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
EMILIO GUTIERREZ-SOTO and
OSCAR GUTIERREZ-SOTO,
Petitioners,
v. EP-lS-CV-0007l-DCG

JEFFERSON SESSIONS III, in his ojj‘z`cial
capacity as Attorney General of the United
States,' KIRSTJEN NIELSEN, in her
ojj‘icial capacity as Secretary of U.S.
Department ofHomeland Security;
THOMAS HOMAN, in his official capacity
as Director of U.S. Immigrations and
Customs Enjbrcement; WILLIAM JOYCE,
in his official capacity as Acting El Paso
Field Oj‘ice Directorfor U.S. Immigration
and Customs Enji)rcement,' and UNITED
STATES DEPARTMENT OF
HOMELAND SECURITY,

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Respondents.

ORDER

 

Presently before the Court is Respondents Jefferson Sessions III, Kirstjen Nielsen,
'l`homas Homan, William Joyce, and United States Department of Homeland Security’s “Motion
to Dismiss, or in the Alternative, Motion for Summary Judgment” (“Motion”) (ECF No. 22) filed
on April 24, 2018. Therein, Respondents argue that the Court lacks jurisdiction over this matter
and that Petitioners’ constitutional and statutory claims are meritless Mot. at 5-20. For the

reasons that follow, the Court GRANTS IN PART AND DENIES IN PART Respondents’

Motion.

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I. BACKGROUND

Petitioners Emilio Gutierrez-Soto (“Mr. Gutierrez-Soto”) and Oscar GutierreZ-Soto, Mr.
Gutierrez-Soto’s son, are citizens of Mexico who are currently being detained by Respondents in
El Paso, Texas.l Respondent Jefferson Sessions III (“Sessions”) is the United States Attorney
General.2 Respondent Kirstjen Nielsen (“Nielsen”) is the Secretary of the United States
Department of Homeland Security (“DHS”).3 Respondent Thomas Homan (“Homan”) is the
Director of United States Immigration and Customs Enforcement (“ICE”).4 William Joyce
(“Joyce”) is the Acting El Paso Field Office Director for ICE.5

The circumstances that led Petitioners to the United States began with Mr. Gutierrez-Soto
reporting on the misdeeds of the Mexican military while he worked as a reporter in Ciudad
Juarez, Chihuahua, Mexico.6 ARer Mr. Gutierrez-Soto reported that members of the Mexican
military committed a series of violent armed robberies in 2005, he was summoned to a location
in Ciudad Jua.rez and threatened by members of the military.7 However, Mr. Gutierrez-Soto
persisted in defying the Mexican military by penning an article detailing the threats he received;

in response, the military raided his home and made more threats against his person and his

 

l Resp.’s Proposed Undisputed Facts il 2, ECF No. 23 [hereinaiter, “Resp.’s PUF”]; Writ, Ex. 3 11
4, ECF No. 1-2.

2 Writ at 2, ECF No. 1.
3 Id. at 3.

4 Id.

5 Id.

6 See writ, Ex. 2 at 1.

7 ld.

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farnily.8 The two events that finally convinced Mr. Gutierrez-Soto to flee Mexico were him
noticing that he was being followed by persons he believed to be affiliated with the Mexican
military and a friend warning him that the military intended to kill him.9

Thus, Petitioners presented themselves at the United States border and applied for
admission on June 16, 2008.10 Nevertheless, Petitioners were deemed inadmissible because they
did not have valid entry documentsll Subsequently, after being processed for expedited
removal, Petitioners claimed fear of returning to Mexico and were interviewed by an asylum
officer on June 19.12 The asylum officer found that Petitioners had a credible fear of persecution,
so Petitioners were placed in detention until a decision could be made on whether to parole
them.13 After spending months in detention,'4 Petitioners were paroled as arriving aliens with a
credible fear of persecution. 15

Due to Petitioners not having valid entry documents when they appeared at the border,
they Were placed in removal proceedings and charged as inadmissible under the Immigration and

Nationality Act.16 In accordance with their status as parolees, though, Petitioners were placed on

 

s Id. at 2.

° Jd.

‘° Resp.’s PUF 11 1.
" ld. 11 5.

‘2 rd. 116.

‘3 Id. 1111 7-8.

14 Oscar Gutierrez-Soto was detained for two months prior to being paroled, while Mr. Gutierrez-
Soto was detained for seven months prior to being paroled. Id. 11 8.

‘5 ld. 1111 8-9.

‘°1¢1.1111.

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the non-detained docket, and their hearing before an immigration judge Was originally set for
January 21, 2011.l7 However, due to a series of delays, Petitioners’ hearings were reset a
number of times and finally occurred in November and December of 2016.18 On July 19, 2017,
the immigration judge issued his order denying Petitioners’ applications for asylum and ordered
them removed.19 On August 21, Petitioners appealed the immigration judge’s decision to the
Board of Immigration Appeals (the “BIA”), but the BIA dismissed the appeal as untimely on
November 2.20
Following the dismissal of their appeal, Petitioners filed an emergency motion to stay
removal with the immigration judge, which was denied on November 17.21 Petitioners also filed
a request for a stay of removal with ICE, which was denied on December 7.22 On that same day,
Petitioners reported to their previously scheduled meeting with ICE and were taken into
custody.23 After being taken into custody on December 7, ICE placed Petitioners in a vehicle and

proceeded towards the El Paso/Juarez border,24 However, before Petitioners could be deported

that day, the BIA granted them a stay pending consideration of their motion to reopen filed on

 

" Id. 11 14.

'* Id. 1111 15-18.
‘° ld. 1111 18-19.
2° Id. 1111 20, 22.
2'1@1. 1111 24-25.
22 Id. 1111 26, 28.
231a 1111 22, 23.

24 writ, Ex. 3 11 3.

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November 20.25 On December 22, the BIA granted Petitioners’ motion to reopen and reinstated
their appeal.26

Nevertheless, despite the reinstatement of their appeal, Petitioners have remained in
detention since ICE took them into custody on December 7, 2017.27 On March 6, 2018,
Petitioners filed the instant habeas petition asserting the following: 1) a Substantive Due Process
claim under the Fifth Amendment to the United States Constitution, 2) a Procedural Due Process
claim under the Fifth Amendment to the United States Constitution, 3) an Equal Protection claim
under the Fifth and Fourteenth Amendments to the United States Constitution, 4) a Freedom of
the Press claim under the First Amendment to the United States Constitution, 5) a Freedom of
Speech claim under the First Amendment to the United States Constitution, and 6) a claim under
the Administrative Procedures Act (“APA”).28 Subsequent to filing their habeas petition,
Petitioners received some good news. On April 17, the University of Michigan invited Mr.
Gutierrez-Soto to join the Knight-Wallace Fellowship class of 2018-19, an esteemed program for
journalists that offers a S75,000 stipend.29 Further, on May 15, the BIA remanded Petitioners’
asylum claim back to the immigration judge for consideration of new evidence and the issuance

of a new decision.30 Nevertheless, Petitioners’ positive developments do not dispose of this

 

22 Resp.’s PUF 1111 27, 29.

2° Id. 1111 22, 28.

22 Writ, Ex. 3 11111,3.

22 writ at 16-20.

29 Resp., Ex. 10 at 1, ECF No. 26.

30 Pets.’ Mot. Show Cause, Ex. A at 2, ECF No. 30-1.

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cause or moot the instant motion. Thus, the Court must address Respondents’ contentions that it
lacks jurisdiction and that Petitioners’ claims are meritless31
II. STANDARD

Summary judgment is appropriate when “the movant shows that there is no genuine
dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.
R. Civ. P. 56(a). “A genuine dispute of` fact exists when evidence is sufficient for a reasonable
jury to return a verdict for the non-moving party, and a fact is material if it ‘might affect the
outcome of the suit.”’ Willis v. Cleco Corp., 749 F.3d 314, 317 (5th Cir. 2014) (citing Ana'erson
v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986))). In deciding whether a genuine dispute as to
any material fact exists, a trial court considers all of the evidence in the record and “draw[s] all
reasonable inferences in favor of the nonmoving party” but “refrain[s] from making credibility
determinations or Weighing the evidence.” Turner v. Baylor Richardson Mea'. Ctr., 476 F.3d
337, 343 (5th Cir. 2007) (citation and internal quotation marks omitted). Instead, the court “only
‘give[s] credence to the evidence favoring the nonmovant [and] that evidence supporting the
moving party that is uncontradicted and unimpeached, at least to the extent that that evidence
comes from disinterested witnesses.”’ Orr v. Copeland, 844 F.3d 484, 490 (5th Cir. 2016)
(second alteration in original) (quoting Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S.
133, 150-51 (2000)).

Procedurally, the party moving for summary judgment “bears the initial responsibility of
informing the district court of the basis for its motion, and identifying those portions of [the
record] which it believes demonstrate the absence of a genuine issue of material fact.” E.E.O. C.
v. LHC Grp., Inc., 773 F.3d 688, 694 (5th Cir. 2014) (alterations in original) (quotation marks

and citation omitted). When the nonmoving party Will bear the burden of proof at trial, the

 

3' See Mot. at 5-20.

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moving party may satisfy this responsibility by “point[ing] out the absence of evidence
supporting the nonmoving party’s case.” Lalimer v. Smithkline & French Labs., 919 F.2d 301,
303 (5th Cir. 1990); see also Boudreaux v. Swift Transp. Co., 402 F.3d 536, 544-45 (5th Cir.
2005).

If the moving party succeeds, “the onus shifts to the nonmoving party to go beyond the
pleadings and by her own affidavits, or by the depositions, answers to interrogatories, and
admissions on file, designate specific facts showing that there is a genuine issue for trial.” LHC
Grp., 773 F.3d at 694 (internal quotation marks and citation omitted). However, the nonmoving
party “cannot defeat summary judgment with conclusory allegations, unsubstantiated assertions,
or only a scintilla of evidence.” Davis v. Fort Bena' Cty., 765 F.3d 480, 497 n.20 (5th Cir. 2014)
(quotation marks and citation omitted).

III. DISCUSSION
A. Jurisdiction

As a threshold matter, there is a dispute regarding whether the Court has jurisdiction over
this case. Respondents allege that Petitioners are attempting to challenge a discretionary
decision of the Attomey General, the revocation of Petitioners’ humanitarian parole. Mot. at 6-
10. See also 8 U.S.C. § 1182(d)(5)(A) (providing the Attomey General with the discretion to
grant and revoke humanitarian parole). Respondents further contend that such a challenge is
barred on jurisdictional grounds by statute. Mot. at 6-10. However, Petitioners contest
Respondents’ characterization of the case. Petitioners counter that the Court has jurisdiction
because they are merely challenging the constitutionality of their detention Resp. at 6-9, ECF
No. 27. For the following reasons, the Court holds that it has jurisdiction over all of Petitioners’

claims except for their APA and Procedural Due Process claims.

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At the center of this dispute over jurisdiction are the statutory provisions precluding
judicial review of the Attomey General’s discretionary decisions The first such statute, 8 U.S.C.
§ 1226(e), states:

The Attomey General's discretionary judgment regarding the application of this

section shall not be subject to review. No court may set aside any action or

decision by the Attomey General under this section regarding the detention or

release of any alien or the grant, revocation, or denial of bond or parole.
In Demore v. Kim, the Supreme Court interpreted Section 1226(e) as not precluding habeas
review because “Section 1226(e) contains no explicit provision barring habeas review.” 538
U.S. 510, 517 (2003) (“[W]here a provision precluding review is claimed to bar habeas review,
the Court has required a particularly clear statement that such is Congress’ intent.”). However,
in 2005, Congress enacted the REAL ID Act, which used exactly the sort of explicit language
demanded by Demore v. Kim to strip district courts of j urisdiction over habeas petitions
challenging the Attomey General’s discretionary decisions See Nolos v. Mukasey, No. EP-08-
CV-287-DB, 2008 WL 5351894, at *2 (W.D. Tex. Sept. 25, 2008) (“Congress enacted the
REAL ID Act on May 11, 2005, which stripped district courts of jurisdiction over 28 U.S.C. §
2241 petitions attacking removal orders.”). See also 8 U.S.C. § 1252(B)(ii) (supplying the
language needed to strip habeas jurisdiction from district courts reviewing discretionary
decisions of the Attomey General).

Nevertheless, when Congress strips courts of habeas jurisdiction, it must take care not to
violate the Suspension Clause. See U.S. Const. art. I, § 9, cl. 2 (“The Privilege of the Writ of
Habeas Corpus shall not be suspended, unless when in Cases of Rebellion or Invasion the public
Safety may require it.”). The Supreme Court has held that Congress stripping federal courts of

habeas jurisdiction does not violate the Suspension Clause When it provides litigants with an

adequate and effective substitutionary remedy. Swain v. Pressley, 430 U.S. 372, 381-82 (1977).

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Further, “[u]nder the constitutional-avoidance canon, when statutory language is susceptible of
multiple interpretations, a court may shun an interpretation that raises serious constitutional
doubts and instead may adopt an alternative that avoids those problems.” Jennings v. Rodriguez,
138 S. Ct. 830, 836 (2018). Thus, courts have balked at applying the jurisdiction-stripping
provision of Sections 1226(e) and 1252(B)(ii) in cases where habeas petitions assert
constitutional claims challenging the extent of the Attomey General’s authority, rather than his
discretionary decisions See, e.g. , id. at 841 (“First and foremost, they are challenging the extent
of the Govemment's detention authority under the ‘statutory framework’ as a whole.”); Zadvydas
v. Davis, 533 U.S. 678, 688 (2001) (“The aliens here . . . challenge the extent of the Attomey
General’s authority under the post-removal-period detention statute. And the extent of that
authority is not a matter of discretion.”); Kambo v. Poppell, No. SA-07-CV-800-XR, 2007 WL
3051601, at *8 (W.D. Tex. Oct. 18, 2007) (“['I`]hough section 1226(e) and section
1252(a)(2)(B)(ii) preclude review of discretionary decisions or actions, they still do not preclude
constitutional challenges to the legislation authorizing detention or to the extent of the Attomey
General's authority under the statute.”).

In the instant case, Petitioners’ Substantive Due Process claim is a challenge to the
constitutionality of their detention. Pets.’ Brief at 13-16, ECF No. 2. The Supreme Court has
already held in Zadvydas that such a claim is not subject to Sections 1226(e) and 1252(B)(ii).
Zadvydas, 533 U.S. at 688. See also Baez v. Bureau of Immigration & Customs Enf't, 150 F.
App'x 311, 312 (5th Cir. 2005) (per curiam) (“Section 106(a) of the [REAL ID] Act does not,
however, preclude habeas review of challenges to detention that are independent of challenges to
removal orders.”). Thus, the Court holds that it has jurisdiction over Petitioners’ Substantive

Due Process claim.

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However, Petitioners’ Equal Protection and First Amendment claims stand on shakier
grounds On their face, these claims appear to challenge the Attomey General’s discretionary
decision to revoke Petitioners’ humanitarian parole. See Pets.’ Brief at 18-32. Nonetheless,
appearances can be deceiving because the claims are actually challenging the extent of the
Attomey General’s authority. This is because the Attomey General does not have the discretion
to violate the Constitution, so the Equal Protection and First Amendment claims charge the
Attomey General With exceeding his lawhll authority. See Kwai Fun Wong v. United States, 373
F.3d 952, 963 (9th Cir. 2004) (“[D]ecisions that violate the Constitution cannot be
‘discretionary”’); Myers & Myers, Inc. v. U. S. Postal Serv., 527 F.2d 1252, 1261 (2d Cir. 1975)
(“It is, of course, a tautology that a federal official cannot have discretion to behave
unconstitutionally”); El Badrawi v. Dep't ofHomelana’ Sec., 579 F. Supp. 2d 249, 270 (D. Conn.
2008) (“[S]ince ICE officials do not have discretion to violate the Constitution, a jurisdictional
bar of this kind cannot preclude claims based on unconstitutional conduct by executive
officials.”). See also Oyelude v. Cherto]j”, 125 F. App'x 543, 546 (5th Cir. 2005) (Smith, J.)
(“Section 1226(e) may strip us of jurisdiction to review judgments designated as discretionary
under the pertinent language of the statute, but it does not deprive us of all authority to review
statutory and constitutional challenges We retain jurisdiction to review Oyelude’s detention
insofar as that detention presents constitutional issues, such as those raised in a habeas
petition.”). But see Loa-Herrera v. Trominski, 231 F.3d 984, 991 (5th Cir. 2000) (Smith, J.) (“In
sum, ‘ [t]he Attomey General’s discretionary judgment regarding the application of’ parole-
including the manner in which that discretionary judgment is exercised, and whether the
procedural apparatus supplied satisfies regulatory, statutory, and constitutional constraints_is

‘not subject to review.”’). Indeed, there are similarities between Petitioners’ challenge of the

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extent of the Attomey General’s authority in the instant case and the challenge in Zadvydas. In
Zadvydas, while the Attomey General had the discretion to determine whether or not to detain an
alien, the Supreme Court held that the Attomey General detaining an alien beyond a
constitutionally permissible period would exceed his authority. Zadvydas, 533 U.S. at 692 (“The
serious constitutional problem arising out of a statute that, in these circumstances permits an
indefinite, perhaps permanent, deprivation of human liberty without any [procedural] protection
is obvious”). Here, while the Attorney General has the discretion to revoke parole, the Attomey
General doing so in a constitutionally impermissible manner would exceed his authority.

Moreover, if the Court were to interpret Sections 1226(e) and 1252(B)(ii) as barring
habeas jurisdiction with regard to Petitioners’ Equal Protection and First Amendment claims, it
would implicate constitutional concerns Since Congress has not provided an alternate and
effective substitutionary remedy as is mandated under the Suspension Clause, such an
interpretation would throw the constitutionality of the REAL ID Act into question See Swain,
supra, 430 U.S. at 381-82. However, the Court’s preferred approach successfully adheres to the
constitutional-avoidance canon and avoids implicating any concerns regarding the REAL ID
Act’s constitutionality Therefore, the Court holds that it has jurisdiction over Petitioners’ Equal
Protection and First Amendment claims

Alternatively, Petitioners’ Procedural Due Process claim does not implicate the same
concems Petitioners charge ICE with violating their constitutional rights by not following its
internal policy, alleged to be U.S. Immigration and Customs Enforcement, ICE 11002.1, Parole
of Arriving Aliens Found to Have a Credible Fear of Persecution or Torture (2009). Pets.’ Brief
at 16-18. Petitioners allege that since they are not flight risks or dangers to the community, they

should not have had their parole revoked. Ia'. at 16. However, Respondents affirm under oath

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that in exercising their discretionary authority, they Weighed the factors in the policy and
determined Petitioners to be flight risks because of their final order of removal. Mot., Ex. B 11 8.
In essence, Petitioners ask the Court to review whether Respondents properly weighed the
factors and determined them to be flight risks; Sections 1226(e) and 1252(B)(ii) bar exactly that
sort of review. See Hernandez v. Sessions, 872 F.3d 976, 987-88 (9th Cir. 2017) (“A petitioner
may not create the jurisdiction that Congress chose to remove simply by cloaking an abuse of
discretion argument in constitutional garb.” (intemal quotation marks omitted)). Thus, the Court
holds that it does not have jurisdiction to consider Petitioners’ Procedural Due Process claim,

Similarly, Petitionersi APA claim does not implicate constitutional concerns Thus,
Sections 1226(e) and 1252(B)(ii) strip the Court of jurisdiction to hear the APA claim.32 This is
because “Section 701 (a) . . . limits application of the entire APA to situations in which judicial
review is not precluded by statute.” Webster v. Doe, 486 U.S. 592, 599 (1988) (citing 5 U.S.C. §
701(a)(1)). In the instant case, judicial review is precluded by the statutes referenced above.
Therefore, the Court holds that it does not have jurisdiction to consider Petitioners’ APA claim,
Accordingly, the Court GRANTS Respondents’ Motion for Summary Judgment only with regard
to Petitioners’ Procedural Due Process and APA claims
B. Improper Respondents

Next, Respondents move to dismiss Sessions, Nielsen, Homan, and DHS on the basis that

they are improper parties under Rumsfeld v. Padilla, 542 U.S. 426 (2004). Mot. at 5. However,

 

32 In light of the comprehensive discussion of the Accara’i Doctrine in Damus v. Nielsen, No. CV
18-578 (JEB), 2018 WL 3232515, at * 12 (D.D.C. July 2, 2018), the Court notes that United States ex rel.
Accardi v. Shaughnessy, 347 U.S. 260 (1954) does not save Petitioners’ APA claim in this case, As the
Court previously noted, ICE applied its internal policy. Thus, Petitioners’ APA claim, like their
Procedural Due Process claim, can be best characterized as challenging the wisdom of the Attomey
General’s discretionary decision That sort of claim falls outside the bounds of the Accardi Doctrine.

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Petitioners contest the dismissal of those four Respondents. Resp. at 13-16. F or the following
reasons, the Court declines to dismiss the four Respondents as improper parties

Generally, a writ of habeas corpus “shall be directed to the person having custody of the
person detained.” 28 U.S.C. § 2243. Thus, the “default rule” is that the proper respondent is the
party in charge of the facility where the petitioner is being detained, “not the Attomey General or
some other remote supervisory official.” Padilla, 542 U.S. at 435. Nevertheless, in Padilla, the
Court opted not to resolve the question of whether the Attomey General is a proper respondent to
a habeas petition filed by an alien detained pending deportation Paa'illa, 542 U.S. at 435 n.8
(“In Ahrens v. Clark, 335 U.S. 188 (1948), We left open the question Whether the Attomey
General is a proper respondent to a habeas petition filed by an alien detained pending deportation
. . . . Because the issue is not before us today, we again decline to resolve it.”). There is currently
a circuit court split on this issue, and the Fifth Circuit has not yet provided an answer. See Nken
v. Napolitano, 607 F. Supp. 2d 149, 158 (D.D.C. 2009) (collecting cases); Davis v. Gonzales,
482 F. Supp. 2d 796, 799 (W.D. Tex. 2006) (“[T]he Supreme Court noted a circuit court split
with respect to this very issue_a split on which the Fifth Circuit has not yet taken a position.”).

Further, Respondents have not offered the Court any reason why it should dismiss the
four Respondents beyond citing to Paclilla. Mot. at 5. Padilla explicitly declined to decide this
precise issue. 542 U.S. at 435 n.8. The parties were likewise unable to offer a Fifth Circuit case
addressing this precise issue. Respondents, as movants, have failed to carry their burden of
proving that dismissal is proper. Therefore, the Court declines to dismiss the four Respondents
at this time. Accordingly, the Court DENIES Respondents’ Motion to Dismiss Sessions,

Nielsen, Homan, and DHS as improper party respondents

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C. ConstitutionalClaims

After resolving the jurisdictional issues in this matter, Petitioners’ remaining claims are
their Substantive Due Process, Equal Protection, Freedom of the Press, and Freedom of Speech
claims Respondents advance two main arguments in opposition to these claims: 1) they are
meritless and 2) they have the authority to detain Petitioners Mot. at 12-18. For the following
reasons, the Court grants Respondents’ Motion with respect to Petitioners’ Substantive Due
Process and Equal Protection claims and denies Respondents’ Motion with regard to Petitioners’
Freedom of the Press and Freedom of Speech claims
1. Substantive Due Process Claim

Petitioners assert that Respondents are violating their due process rights under the Fifth
Amendment to the United States Constitution by detaining them without justification Resp. at
17-19; Pets.’ Brief at 13-16. “It is well established that the Fifth Amendment entitles aliens to
due process of law in deportation proceedings.” Reno v. Flores, 507 U.S. 292, 306 (1993).
“Substantive due process analysis must begin with a careful description of the asserted right.”
Reno v. Flores, 507 U.S. 292, 302 (1993) (intemal quotation marks omitted). “Freedom from
imprisonment-from government custody, detention or other forms of physical restraint_lies at
the heart of the liberty that Clause protects.” Zadvydas, 533 U.S. at 690. Thus, the Court must
determine whether the regulatory framework authorizes Petitioners’ detention and if said
regulatory framework meets constitutional muster as applied to the instant case.

The Attomey General’s authority to detain and release aliens derives from 8 U.S.C. §
1182(d)(5)(A) and 8 U.S.C. §§ 1226(a)-(b). Sections 1182(d)(5)(A) and 1226(a)(2)(B) provide
mechanisms whereby the Attomey General, in his discretion may grant an alien parole. 8

U.S.C. § 1182(d)(5)(A) (“'l`he Attomey General may . . . in his discretion parole into the United

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States temporarily under such conditions as he may prescribe only on a case-by-case basis for
urgent humanitarian reasons or significant public benefit any alien applying for admission to the
United States . . .”); 8 U.S.C. § 1226(a)(2)(B) (“On a warrant issued by the Attomey General, an
alien may be arrested and detained pending a decision on whether the alien is to be removed
from the United States Except as provided in subsection (c) and pending such decision, the
Attomey General may release the alien on conditional parole”). However, Sections
1182(d)(5)(A) and 1226(b) also allow the Attomey General to revoke said parole and detain the
alien 8 U.S.C. § 1182(d)(5)(A) (“. . . but such parole of such alien shall not be regarded as an
admission of the alien and when the purposes of such parole shall, in the opinion of the Attomey
General, have been served the alien shall forthwith return or be returned to the custody from
which he was paroled and thereafter his case shall continue to be dealt with in the same manner
as that of any other applicant for admission to the United States”); 8 U.S.C. § 1226(b) (“The
Attomey General at any time may revoke a bond or parole authorized under subsection (a),
rearrest the alien under the original warrant, and detain the alien.”). Moreover, the Supreme
Court “has recognized detention during deportation proceedings as a constitutionally valid aspect
of the deportation process.” Demore, 538 U.S. at 523. This is because “deportation proceedings
‘would be vain if those accused could not be held in custody pending the inquiry into their true
character.”’ Ia'. (quoting Wong Wing v. United States, 163 U.S. 228, 235 (1896)). Thus,
detention during deportation proceedings is not unconstitutional on its face.

Petitioners advance a fairly novel argument that Respondents allowing them to live,
Work, and establish roots in America for nearly a decade while on parole has given them a due
process right to not be snatched off the street Without warning whenever Respondents see fit.

Resp. at 17-19. Further, Petitioners contend that Respondents have failed to provide adequate

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reasoning for their detention Id. To address Petitioners’ first argument, the Court cannot agree
that Respondents’ grace of allowing them to remain on parole for nearly a decade has created a
due process right. It was a discretionary decision for Respondents to grant them parole, and
Respondents had the authority to revoke that parole. See, e.g., 8 U.S.C. § 1182(d)(5)(A).
Further, the Supreme Court has recognized the use of detention during deportation proceedings
as constitutionally valid. See Demore, supra, 538 U.S. at 523. With regard to Petitioners’
second argument, the Court noted above that it does not have the jurisdiction to inquire into
whether Respondents properly weighed the factors according to their internal policies in
determining whether Petitioners should remain out on parole. See Hernandez, supra, 872 F.3d at
987_88. However, the Court earlier concluded that Respondents, at minimum, applied their
internal policies and provided an adequate reason for revoking Petitioners’ parole. See, supra,
Mot., Ex. B jj 8. Therefore, Petitioners have failed to raise a violation of their due process
rights33 Accordingly, the Court GRANTS Respondents’ Motion for Summary Judgment with
respect to Petitioners’ Substantive Due Process claim.
2. Equal Protection Claim

Petitioners allege that Respondents discriminated against them on the basis of their
national origin in violation of the Equal Protection Clause under the Fifth and Pourteenth
Amendments to the United States Constitution Pets.’ Brief at 18-25. Respondents contend that
summary judgment is warranted because Petitioners have failed to provide evidence of

discriminatory purpose. Mot. at 12-13. Petitioners counter that they have provided evidence of

 

33 It does not appear that Petitioners attempt to challenge their detention as unconstitutional under
Zadvydas. 533 U.S. at 701 (“We do have reason to believe, however, that Congress previously doubted
the constitutionality of` detention for more than six months.”). Nevertheless, even if Petitioners did intend
to challenge the length of their detention under Zadvydas, their challenge is premature because they filed
suit after being detained for only three months See Akinwale v. Ashcroft, 287 F.3d 1050, 1051-52 (l lth
Cir. 2002) (“This six-month period thus must have expired at the time Akinwale's § 2241 petition was
filed in order to state a claim under Zadvydas.”).

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discriminatory purpose in the form of President Trump’s statements changes in DHS policy, and
emails between members of the El Paso ICE Office. Resp. at 21-27.

The Equal Protection Clause “directs states to treat ‘all persons similarly situated’ alike.”
Vera v. Tue, 73 F.3d 604, 609-10 (5th Cir. 1996) (quoting Cin of Cleburne, Tex. v. Cleburne
Living Center, 473 U.S. 432, 439 (1985)). The equal protection guarantees of the Fourteenth
Amendment are also applicable to the federal government through the Fifth Amendment’s Due
Process Clause. See, e.g., Washington v. Davis, 426 U.S. 229, 239 (1976) (“The central purpose
of the Equal Protection Clause of the Fourteenth Amendment is the prevention of official
conduct discriminating on the basis of race. It is also true that the Due Process Clause of the
Fifth Amendment contains an equal protection component prohibiting the United States from
invidiously discriminating between individuals or groups.”). In order to establish a valid Equal
Protection claim, a party must show more than a disproportionate impact. United States v.
Galloway, 951 F.2d 64, 65 (5th Cir. 1992). “Even if a neutral law has a disproportionately
adverse effect upon [persons of a certain national origin], it is unconstitutional under the Equal
Protection Clause only if that impact can be traced to a discriminatory purpose.” Id. (quoting
Personnel Adm ’r v. Feeney, 442 U.S. 256, 272 (1979) (internal quotation marks omitted)).
Thus, “[d]iscriminatory purpose in an equal protection context implies that the decisionmaker
selected a particular course of action at least in part because of, and not simply in spite of, the
adverse impact it would have on an identifiable group.” Woods v. Edwards, 51 F.3d 577, 580
(5th Cir. 1995) (per curiam) (internal quotation marks omitted). “Determining whether invidious
discriminatory purpose was a motivating factor demands a sensitive inquiry into such
circumstantial and direct evidence of intent as may be available.” Vill. of Arlington Heights v.

Metro. Hous. Dev. Corp., 429 U.S. 252, 266 (1977).

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In the instant case, Petitioners first ask the Court to consider President Trump’s
statements about Mexicans as evidence of his administration’s discriminatory animus towards
Petitioners Resp. at 22-24. Petitioners cite Int'l Refugee Assistance Project v. Trump, 883 F.3d
233 (4th Cir. 2018) (hereinafter “IRAP”) as support for their argument that the Court can
consider President Trump’s statements made both while campaigning and in office. ld. at 26. In
lRAP, the Fourth Circuit considered President Trump’s statements regarding his planned
“Muslim ban” in evaluating whether his executive order violated the First Amendment. 883 F.3d
at 263. The court determined that it could consider President Trump’s statements and held that
those statements revealed a constitutionally impermissible purpose behind the executive order at
issue. Id. at 264 (“The President’s own words_publicly stating a constitutionally impermissible
reason for the Proclamation_distinguish this case from those in which courts have found that
the Government had satisfied Mamlel’s ‘bona fide’ prong.”). However, IRAP is distinguishable
from the instant case. In IRAP, President Trump made statements referring to a “Muslim ban”
and then executed policies that were similar to the “Muslim ban” he discussed. Id. Here, the
statements that Petitioners offer only show President Trump’s criticisms of Mexicans; they do
not include any statements from President Trump promising to revoke the parole of all Mexicans
in the United States See Pets.’ Brief at 21-22; Resp. at 24. With that all said, out of an
abundance of caution, the Court will adopt the Supreme Court’s approach from Trump v.
Hawaii, No. 17-965, 2018 WL 31 16337 (U.S. June 26, 2018), In reviewing the same issue from
IRAP, the plaintiffs asked the Supreme Court “to probe the sincerity of the stated justifications
for the policy by reference to extrinsic statements-many of which were made before the
President took the oath of office.” Trump v. Hawaii, No. 17-965, 2018 WL 3116337, at *20

(U.S. June 26, 2018). In describing how it would consider such a challenge, the Court explained:

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For our purposes today, we assume that we may look behind the face of the
Proclamation to the extent of applying rational basis review. That standard of
review considers whether the entry policy is plausibly related to the
Govermnent’s stated objective to protect the country and improve vetting
processes As a result, we may consider plaintiffs’ extrinsic evidence, but will
uphold the policy so long as it can reasonably be understood to result from a
justification independent of unconstitutional grounds
Trump v. Hawaii, No. 17-965, 2018 WL 3116337, at *21 (U.S. June 26, 2018) (internal citation
omitted). Here, the Court considered Petitioners’ extrinsic evidence, but it upholds Respondents’
revocation of parole because it could be reasonably understood to result from a justification
independent of unconstitutional grounds This is because Petitioners’ extrinsic evidence,
President Trump’s statements lack anything more than a tenuous connection to Respondents’
actions34 Conversely, Respondents’ justification for revoking parole is rationally related to the

legitimate government interest of ensuring that Petitioners are able to be located if there is an

adverse ruling on their asylum claim. See, supra, Mot., Ex. B 11 8 (“I considered [Petitioners] a

 

34 Moreover, the Court is uneasy about giving significant weight to statements from a public
official made while he was a candidate when evaluating his policies after he has taken office. The Court
agrees with Judge Alex Kozinski’s reasoned analysis of this issuer

Candidates say many things on the campaign trail; they are often contradictory or

inflammatory No shortage of dark purpose can be found by sitting through the daily

promises of a drowning candidate, when in truth the poor shlub’s only intention is to get
elected. No Supreme Court case_indeed no case anywhere that lam aware of-sweeps

so widely in probing politicians for unconstitutional motives And why stop with the

campaign? Personal histories, public and private, can become a scavenger hunt for

statements that a clever lawyer can characterize as proof of a -phobia or an -ism, with the
prefix depending on the constitutional challenge of the day.

This path is strewn with danger. lt will chill campaign speech, despite the fact that our
most basic free speech principles have their “fullest and most urgent application precisely
to the conduct of campaigns for political office.” McCutcheon v. Fed. Election Comm ’n,
134 S.Ct. 1434, 1441 (2014) (citation and internal quotation marks omitted). And it will
mire us in a swamp of unworkable litigation Eager research assistants can discover
much in the archives, and those findings will be dumped on us with no sense of how to
weigh them. Does a Meet the Press interview cancel out an appearance on Face the
Nation? Does a year-old presidential proclamation equal three recent statements from the
cabinet? What is the appropriate place of an overzealous senior thesis or a poorly
selected yearbook quote?

Washington v. Trump, 858 F.3d 1168, 1173-74 (9th Cir. 2017) (Kozinski, J., dissenting).

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flight risk because they had a final order of removal.”). See also Demore, 538 U.S. at 523
(recognizing detention as a constitutionally valid aspect of the deportation process).

Petitioners next contend that DHS’s changes to its policies and the emails between
members of the El Paso ICE Office prove that Respondents were discriminating against
Petitioners on the basis of their national origin when they revoked their parole. Pets.’ Brief at
22-23; Resp. at 22-24. However, the changes in policy only show evidence of a harsher and
more aggressive approach to immigration when compared to President Obama. This is not
surprising because President Trump campaigned on enhanced border security and harsher and
more aggressive enforcement of our nation’s immigration laws, as Petitioners’ statements from
President Trump show. Pets.’ Brief at 21-22. Significantly, while President Trump has taken
steps to “secure the border” and target unauthorized aliens living in the United States, Petitioners
have not offered evidence that he is targeting Mexicans specifically For example, while
“securing the border” has an adverse impact on Mexican immigrants it also affects other
immigrants corning from other nations in Central and South America. Further, the Court is
reluctant to read discriminatory animus into an administration’s discretionary decisions based
solely upon the president attempting to enact an agenda at the center of his campaign
Petitioners lack a strong enough connection between President Trump’s tough-on-immigration
agenda and the revocation of their parole necessary for the Court to infer discrimination

Finally, with respect to the emails between ICE officials, Petitioners again lack the
necessary link for the Court to infer discriminatory intent. The emails reveal that ICE was
targeting Petitioners before their asylum case was denied, but they do not show that Petitioners
were being targeted because of their national origin See Resp., Ex. 6, ECF No. 26. Without that

Iink, the emails simply are not strong enough evidence to create a genuine issue of material fact

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as to whether Respondents violated Petitioners’ equal protection rights Accordingly, the Court
GRANTS Respondents’ Motion for Summary Judgment with regard to Petitioners’ Equal
Protection claim,
3. First Amendment Claims

Petitioners allege that Respondents infringed upon their free press and free speech rights
in violation of the First Amendment to the United States Constitution. Pets.’ Brief at 25-31;
Resp. at 27-32. See also U.S. Const. amend. I (“Congress shall make no law respecting an
establishment of religion or prohibiting the free exercise thereof; or abridging the freedom of
speech, or of the press; or the right of the people peaceably to assemble, and to petition the
Government for a redress of grievances.” (emphasis added)).35 By their Motion, Respondents
provide two bases for why summary judgment is proper: 1) Petitioners have failed to adequately
show but-for causation,36 and 2) Respondents had a constitutionally valid reason for revoking
Petitioners’ parole. Mot. at 14-16. The Court will first address Petitioners’ Freedom of the
Press claim before turning to their Freedom of Speech claim.

§a) Freedom of the Press Claim

“Freedom of the press is a fundamental personal right which is not confined to
newspapers and periodicals.” Branzburg v. Hayes, 408 U.S. 665, 704 (1972) (intemal quotation

marks omitted). “It is the purpose of the First Amendment to preserve an uninhibited

 

35 The Supreme Court has held that aliens residing in the country are entitled to the protections of
the First Amendment See, e.g., United States v. Verdugo- Urquidez, 494 U.S. 259, 271 (1990) (collecting
cases regarding the constitutional rights of aliens); Bridges v. Wixon, 326 U.S. 135, 148 (1945)
(“Freedom of speech and of press is accorded aliens residing in this country.”).

36 The parties dispute whether Petitioners must prove but-for causation Compare Mot. at 14-15
(citing to cases analyzing § 1983 claims in support of the proposition that Petitioners must prove but-for
causation), with Resp. at 32 (arguing that a party does not have to prove but-for causation when
challenging government action in the habeas context). Because Petitioners’ First Amendment claims
would survive summary judgment even if the Court required them to prove but-for causation the Court
declines to resolve this issue today

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marketplace of ideas in which truth will ultimately prevail, rather than to countenance
monopolization of that market, whether it be by the Government itself or a private licensee.”
Recl Lion Broaa'. Co. v. F.C.C., 395 U.S. 367, 390 (1969). Thus, one of the major purposes of
the First Amendment is to protect the free discussion of governmental affairs Mills v. State of
Ala., 384 U.S. 214, 218 (1966). “This of course includes discussions of candidates structures
and forms of govemment, the manner in which government is operated or should be operated,
and all such matters relating to political processes The Constitution specifically selected the
press . . . to play an important role in the discussion of public aff`airs.” Ia'. at 218-19,
Consequently, the press serves “as a powerful antidote to any abuses of power by governmental
officials and as a constitutionally chosen means for keeping officials elected by the people
responsible to all the people whom they were selected to serve.” Ial. at 219. “Suppression of the
right of the press to praise or criticize governmental agents and to clamor and contend for or
against change . . . muzzles one of the very agencies the Framers of our Constitution thoughtfully
and deliberately selected to improve our society and keep it free.” Ia'. Therefore, the First
Amendment “must be taken as a command of the broadest scope that explicit language, read in
the context of a liberty-loving society, will allow.” Bridges v. State of Cal., 314 U.S. 252, 263
(1941).

The foundation of Petitioners’ Freedom of the Press claim is built upon the emails
between ICE officials the temporal proximity between Mr. Gutierrez-Soto’s criticism of ICE
and the revocation of Petitioners’ parole, and the comments from an ICE official directed at Bill
McCarren Pets.’ Brief at 26-28; Resp. at 27-29. Respondents contend that they detained
Petitioners based on a warrant issued after the removal order issued by the immigration judge

became final in August 2017. Mot. at 15-16. However, the emails between ICE officials

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undermine Respondents’ argument The emails show that ICE officials were already targeting
Mr. Gutierrez-Soto in February 2017. Resp., Ex. 6 (including Mr. Gutierrez-Soto on a list as a
“candidate for arrest” in an email string titled “Non-Detained Target List”). This is significant
because it is before the immigration judge issued the removal order in July 2017, which became
final in August 2017. See Mot. at 15. Moreover, Mr. Gutierrez-Soto criticized ICE and the
government in a very public manner while accepting a prestigious award from the National Press
Club. Pets.’ Brief at 28 (accusing United States immigration authorities of “bartering away
international law” with regard to asylum seekers). His arrest occurred only a couple months
later. Finally, William McCarren the Executive Director of the National Press Club, affirms
under oath that an ICE official told him to “tone it down” during a meeting regarding Mr.
Gutierrez-Soto, and he interpreted the comment in the context of the conversation to mean that
the media should stop attracting attention to Petitioners’ cause. Writ, Ex. 47 il 15, ECF No. 1-10.

Taking all of this evidence into account, Petitioners have offered enough evidence to
create a genuine issue of material fact regarding whether Respondents violated their First
Amendment rights Petitioners have offered evidence that allows for an inference that they were
targeted before their asylum case was denied and ICE officials did not approve of the negative
press that Petitioners were generating Drawing these inferences in favor of Petitioners the
nonmoving party, there is support for Petitioners’ claim that Respondents retaliated against them
for asserting their free press rights This is also sufficient evidence for the trier of fact, drawing
all reasonable inferences in favor of Petitioners, to conclude that Respondents’ reason for
detaining Petitioners is a pretext. Accordingly, the Court DENIES Respondents’ Motion for
Summary Judgment with respect to Petitioners’ Freedom of the Press claim.

(b) FreeLn of Speech Claim

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“[T]he First Amendment reflects a profound national commitment to the principle that
debate on public issues should be uninhibited, robust, and wide-open and [we] have consistently
commented on the central importance of protecting speech on public issues.” Boos v. Barry, 485
U.S. 312, 318 (1988) (internal quotation marks and citation omitted). Pure political speech is
entitled to the highest First Amendment protection Tauber v. Town of Longmeadow, 695 F.
Supp. 1358, 1360 (D. Mass 1988). While pure political speech can be subject to reasonable
time, place, and manner restrictions the restrictions must be content-neutral, serve a significant
government interest, and leave open ample alternative channels for communication of the
information Id. Thus, when the government seeks to restrict speech, it must not base its
decision to do so on the content of the speech. Metromea'ia, Inc. v. City of San Diego, 453 U.S.
490, 516 (1981) (“We have observed that . . . restrictions are permissible if they are justified
without reference to the content of the regulated speech . . . .” (internal quotation marks
omitted)). “Above all else, the First Amendment means that government has no power to restrict
expression because of its message, its ideas, its subject matter, or its content.” Police
Department of Chicago v. Mosley, 408 U.S. 92, 95 (1972).

Petitioners allege that Respondents revoked their parole as retaliation for Mr. Gutierrez-
Soto’s comments criticizing United States immigration policy Pets.’ Brief at 29_32; Resp. at
30-32. Petitioners point to the temporal proximity between Mr. Gutierrez-Soto’s criticism of the
country’s immigration policy and the revocation of Petitioners’ parole, similar actions against
other immigration activists who have spoken out, and the comments from an ICE official
directed at Bill McCarren for support. Ia'. The Court previously discussed the significance of the
temporal proximity between Mr. Gutierrez-Soto’s criticism and the revocation of his parole as

well as the comment from the ICE official directed at Bill McCarren See, supra, Pets.’ Brief at

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28 (accusing United States immigration authorities of “bartering away international law” with
regard to asylum seekers); Writ, Ex. 47 11 15 (declaring under oath that an ICE official told him
to “tone it down” in reference to press coverage of Petitioners’ detention). Further bolstering
Petitioners’ case is evidence of Respondents’ alleged pattern of conduct. Petitioners list five
other vocal activists who, like Mr. Gutierrez-Soto, were allegedly targeted between December
2017 and January 2018 by ICE. Resp. at 30-31. Drawing all reasonable inferences in favor of
Petitioners, the evidence could establish that Respondents retaliated against immigrant activists
who criticized the govemment’s policies For example, the ICE official’s comment towards Bill
McCarren could be taken as evidence that ICE disapproves of negative publicity When that is
taken in conjunction with ICE’s alleged pattern of targeting other immigration activists after they
spoke out and Mr. Gutierrez-Soto being detained shortly after he spoke out, there is enough
evidence to create a genuine issue of material fact regarding Whether Respondents retaliated
against Petitioners for Mr. Gutierrez-Soto’s comments If Respondents did retaliate against
Petitioners for that reason they restricted Petitioners’ free speech rights because of the content
and message of Mr. Gutierrez-Soto’s political speech. See, supra, Mosley, 408 U.S. at 95
(“Above all else, the First Amendment means that government has no power to restrict
expression because of its message, its ideas, its subject matter, or its content.”). Accordingly, the
Court DENIES Respondents’ Motion for Summary Judgment With respect to Petitioners’
Freedom of Speech claim,
IV. CONCLUSION

Accordingly, IT IS ORDERED that Respondents’ “Motion to Dismiss, or in the

Altemative, Motion for Summary Judgment” (ECF No. 22) is GRANTED IN PART AND

DENIED IN PART. The Court GRANTS the Motion with respect to Petitioners’ Procedural

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Due Process, Substantive Due Process, Equal Protection, and APA claims, which are hereby
DISM]SSED WITH PREJUDICE. The Court DENIES the Motion with regard to Petitioners’
Freedom of the Press and Freedom of Speech claims

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So ORDERED and SIGNED this /O day of July 2018.

 

 

DA\iID C. GUA‘DERRAMA
UNITED sTATES DISTRICT JUDGE

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